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   8

   9
                              UNITED STATES DISTRICT COURT
  10
                            CENTRAL DISTRICT OF CALIFORNIA
  11
                                       SOUTHERN DIVISION
  12

  13    JETPACK ENTERPRISES, LLC, a                Case No:
        California Company, and JETPACK
  14    ENTERPRISES – SAN DIEGO, LLC., a
        California Company,                        COMPLAINT FOR BREACH OF
  15                                               CONTRACT, FRAUD,
                                                   PROMISSORY FRAUD,
  16                     Plaintiffs,               NEGLIGENT
                                                   MISREPRESENTATION,
  17               v.                              INTENTIONAL INTERFERENCE
                                                   WITH CONTRACT, INTENTIONAL
  18                                               INTERFERENCE WITH
        JETLEV, LLC, a Delaware Company,           PROSPECTIVE ECONOMIC
  19    JETLEV TECHNOLOGIES, Inc., a Florida       ADVANTAGE, CONVERSION AND
        Company, JLIP, LLC, a Delaware             NEGLIGENCE
  20
        Company, AQUAFLIER, LLC, a Florida
  21    Company, JLSG, LLC, a New Jersey           DEMAND FOR JURY TRIAL
        Company, SETH GERSZBERG, an
  22
        Individual, and MATTHEW
  23    ROSENBLATT, an Individual,
  24                     Defendants.
  25

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   1               Plaintiffs Jetpack Enterprises, LLC (“Jetpack Enterprises”) and Jetpack Enterprises
   2    – San Diego, LLC (“Jetpack Enterprises – San Diego”), by and through their attorneys,
   3    bring this Complaint in diversity against Defendants Jetlev, LLC; Jetlev Technologies,
   4    Inc.; JLIP, LLC; Aquaflier, LLC; JLSG, LLC; Seth Gerszberg and Matt Rosenblatt for
   5    breach of contract, fraud, promissory fraud, negligent misrepresentation, intentional
   6    interference with contract, intentional interference with prospective economic advantage,
   7    conversion and negligence.
   8                                    JURISDICTION AND VENUE
   9           1.        This Court has diversity jurisdiction over this action pursuant to 28 U.S.C. §
  10    1332 because the Plaintiffs and Defendants are citizens of different States and because
  11    the amount in controversy exceeds $75,000.
  12           2.        This Court has in personam jurisdiction over Defendants because
  13    Defendants purposefully directed the activities complained of hereunder at Plaintiffs in
  14    California; because Defendants purposefully availed themselves of the benefits of doing
  15    business with Plaintiffs in California with respect the subject matter at issue; because the
  16    contract terms at issue were negotiated in the State of California; because Defendants’
  17    obligations were to be performed in California; and because the harms inflicted by
  18    Defendants were felt by Plaintiffs in California.            The facts supporting personal
  19    jurisdiction are laid out in further detail below and are expressly incorporated here.
  20           3.        Venue is proper under 28 U.S.C. §1391(b)(2) and (c)(2) in the Central
  21    District of California because a substantial part of the events or omissions giving rise to
  22    the claim occurred within this District, where Jetpack Enterprises’ Newport Beach central
  23    place of business operations is located.            Venue is also proper under 28 U.S.C.
  24    §1391(b)(3) because defendants are subject to the court’s personal jurisdiction in this
  25    District, as discussed above.
  26                                                PARTIES
  27           4.        Jetpack Enterprises is a California limited liability company having its
  28    principal place of business at 2600 Newport Blvd., Suite 122, Newport Beach, California
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   1    92663.
   2           5.    Jetpack Enterprises – San Diego is a California limited liability company
   3    having its principle place of business at 1010 Santa Clara Place, San Diego, CA 92109.
   4           6.    Upon information and belief, Plaintiffs allege that Defendant Jetlev, LLC is
   5    a Delaware limited liability company having its principal place of business at 1105 Old
   6    Griffin Road, Dania Beach, Florida 33004.
   7           7.    Upon information and belief, Plaintiffs allege that Defendant Jetlev
   8    Technologies, Inc. is a Florida corporation having its principal place of business at 1105
   9    Old Griffin Road, Dania Beach, Florida 33004.
  10           8.    Upon information and belief, Plaintiffs allege that Defendant JLIP, LLC is a
  11    Delaware limited liability company having its principal place of business at 1105 Old
  12    Griffin Road, Dania Beach, Florida 33004.
  13           9.    Upon information and belief, Plaintiffs allege that Defendant Aquaflier, LLC
  14    is a Florida limited liability company having its principal place of business at 21200 Point
  15    Place, Suite 2903, Aventura, FL 33180.
  16           10.   Upon information and belief, Plaintiffs allege that Defendant JLSG, LLC is
  17    a New Jersey limited liability company having its principal place of business at 811
  18    Church Road #105, Cherry Hill, New Jersey 08002.
  19           11.   Upon information and belief, Plaintiffs allege that Defendant Seth Gerszberg
  20    is an individual residing in the State of New York and having an address at 501 Tenth
  21    Avenue, Floor 7, New York, NY 10018.
  22           12.   Upon information and belief, Plaintiffs allege that Defendant Matt
  23    Rosenblatt is an individual residing in the State of Florida and having an address at 21200
  24    Point Place, Suite 2903, Aventura, FL 33180.
  25                                  FACTUAL ALLEGATIONS
  26                                      Plaintiffs’ Businesses
  27           13.   Plaintiffs are engaged in the business of renting and selling recreational
  28    water jetpack equipment under the trade name “Jetpack America.” Water jetpacks allow
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   1    users to “fly” over a body of water by employing a floating pump to force water up a
   2    hose to an apparatus worn by the user that expels the water at high velocity, generating
   3    lift. Water jetpacks have become increasingly popular in recent years as an alternative to
   4    other personal watercraft such as Jet Skis and Wave Runners. Jetpack Enterprises has a
   5    jetpack rental operation in Newport Beach, and Jetpack Enterprises – San Diego has a
   6    similar operation in San Diego. Jetpack Enterprises is also engaged in the sale of
   7    jetpacks and jetpack equipment. Jetpack Enterprises – San Diego is a corporate affiliate
   8    of Jetpack Enterprises and has the same principal executive officer (Dean O’Malley) who
   9    is based out of Jetpack Enterprises’ offices in Newport Beach, California.          Jetpack
  10    Enterprises – San Diego is an intended third party beneficiary of many of the contracts
  11    entered into by Jetpack Enterprises including some of those discussed here.
  12                 Jetlev Technologies, Inc. And The Founding Of Jetpack Enterprises
  13           14.      Florida Secretary of State records show that Raymond Li founded a
  14    company called Jetlev Sports, Inc. in August 2007, and that company then changed its
  15    name to Jetlev Technologies, Inc. in February 2011. Jetlev Technologies, Inc. still
  16    nominally exists on paper today at the address 1105/1111 Old Griffin Road in Dania
  17    Beach, Florida, with Mr. Li as an executive. However, as discussed below, corporate
  18    documents show that as of the start of 2012, Jetlev Technologies, Inc. was for all
  19    practical purposes merged with Jetlev, LLC, such that any supposed corporate
  20    separateness between those two companies from that point forward should be disregarded
  21    as illusory.
  22           15.      Mr. Li had a strong personal passion for water jetpacks. He considers
  23    himself the inventor of the technology, and has been awarded several patents on it
  24    (though the validity of those patents is contested). After helping to develop the water
  25    jetpacks several years ago, Mr. Li was eager to create a new market for them. His
  26    objective was to set up “dealerships” across the United States to sell the units at about
  27    $99,500 each.
  28           16.      In early 2011, John Morris – the founder of Plaintiffs’ businesses – entered
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   1    discussions with Mr. Li. Mr. Morris purchased several jetpack units (called the “R200”
   2    product) from Jetlev Technologies, Inc. for just below their $99,500 sticker price, and set
   3    up a rental operation in Newport Beach. Jetpack Enterprises, LLC was formed in May
   4    2011 and began operating under the trade name “Jetlev Southwest” (though there was no
   5    formal operating agreement between Mr. Li’s business and Jetpack Enterprises). Jetpack
   6    Enterprises owned its jetpacks outright, and ran a successful rental operation for itself.
   7    Dean O’Malley was brought on board as President of Jetpack Enterprises and to oversee
   8    day-to-day operations.     Jetpack Enterprises was also promised and paid a 15%
   9    commission from Jetlev on jetpack sales that it arranged.
  10                             Mr. Gerszberg Takes Control Of Jetlev
  11           17.   Mr. Li was an enthusiastic business partner, but upon information and belief,
  12    fell on hard times with his personal finances by the end of 2011. It was at this point that
  13    New York-based entrepreneur Seth Gerszberg took an interest in Mr. Li’s company. Mr.
  14    Gerszberg is best known for founding the popular clothing company MEE Apparel,
  15    which retailed under the famous brand name “Eckō unltd.” In 2009, the company
  16    reportedly had over $1 billion in global revenue and was the largest brand in streetwear.
  17    When MEE Apparel later filed for bankruptcy in 2014, Mr. Gerszberg became the bidder
  18    for millions of dollars of its assets through one of his other companies, Schuman LLC.
  19           18.   Mr. Gerszberg took a personal interest in water jetpack technology and,
  20    sometime in 2011, embarked on a course of dealing that would result in his ultimately
  21    wresting control of Raymond Li’s business.
  22           19.   Mr. Gerszberg formed the entity JLSG, LLC (“JLSG”) in New Jersey on
  23    November 30, 2011. Mr. Gerszberg exercises sole control over JLSG. The next day, on
  24    December 1, 2011, Mr. Gerszberg formed the twin Delaware entities Jetlev, LLC and
  25    JLIP, LLC (“JLIP”) with the objective that Jetlev, LLC would replace Jetlev
  26    Technologies, Inc., and that JLIP would be the intellectual property holding company for
  27    Jetlev, LLC. Mr. Gerszberg was a manager of both companies.
  28           20.   Upon information and belief, JLSG was Mr. Gerszberg’s vehicle to provide
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   1    his own personal funding to Jetlev, LLC and JLIP. Mr. Gerszberg, in his individual
   2    capacity, also supplied funding to the Jetlev entities. Mr. Gerszberg also offered to repay
   3    Mr. Li’s substantial debts as a means of gaining control of Mr. Li’s company.
   4           21.   Florida Secretary of State records indicate that Jetlev, LLC and JLIP applied
   5    for a license to do business in Florida in January 2012, and that both established their
   6    headquarters at 1111 Old Griffin Road, Dania Beach, Florida, which was also Jetlev
   7    Technologies, Inc.’s address. 1111 Old Griffin Road is a commercial building adjoined
   8    by 1105 Old Griffin Road, which has more recently served as an address for Jetlev, LLC
   9    and JLIP. JLSG signed the Florida license paperwork as each of Jetlev, LLC’s and
  10    JLIP’s authorized representative.
  11           22.   Mr. Gerszberg has at all times since at least the start of 2012 been the de
  12    facto executive in charge of all Jetlev operations for all the Jetlev entities. Although
  13    Raymond Li was nominally one of the managers of both Jetlev, LLC and JLIP, he
  14    ultimately had no say in the operation of the companies. Corporate records show that at
  15    some point in the first half of 2014, Raymond Li was removed as a manager of Jetlev,
  16    LLC, leaving only Mr. Gerszberg as a manager.
  17           23.   Jetlev Technologies, Inc. was effectively merged into Jetlev, LLC by Mr.
  18    Gerszberg. Jetlev Technologies, Inc. transferred all of its assets to Jetlev, LLC, and
  19    Jetlev, LLC assumed effectively all of Jetlev Technologies, Inc.’s debts and obligations.
  20    No distinction was drawn between Jetlev Technologies, Inc. and Jetlev, LLC after Jetlev,
  21    LLC was created, leading those who did business with them to assume that they were one
  22    and the same company, particularly since they had the same address and phone number.
  23    The entities alternatively presented themselves to Plaintiffs as Jetlev Technologies, Inc.,
  24    Jetlev, LLC, or simply as “Jetlev” without any discernable pattern. Mr. Gerszberg treated
  25    these entities as effectively one and the same, and corporate formalities were ignored
  26    such that each company should be deemed jointly liable for the actions of the other.
  27    Jetlev Technologies, Inc. and Jetlev, LLC will collectively be referred to herein simply as
  28    “Jetlev.”
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   1           24.      Upon information and belief, Mr. Gerszberg co-mingled his own money
   2    with that of Jetlev and JLIP, and operated the businesses without conducting proper board
   3    meetings, keeping proper records, or setting proper policies on how money could be
   4    withdraw from the company by its executives.
   5           25.      Mr. Gerszberg was contractually obliged to personally fund Jetlev to keep it
   6    solvent and functional, funding it either personally, or through JLSG. JLSG is a mere
   7    fiction, existing for no other purpose than to allow the funneling of money between Mr.
   8    Gerszberg and the Jetlev entities.
   9           26.      Sometime at the end of 2011 or the start of 2012, Mr. Gerszberg installed his
  10    brother-in-law, Benjamin White, as the new President of Jetlev. Mr. White acted under
  11    the direct control and instruction of Mr. Gerszberg, and effectively supplanted Mr. Li.
  12                 Jetlev Induces Jetpack Enterprises To Enter One-Sided Agreements
  13           27.      Jetpack Enterprises became aware of Mr. White as the new President of
  14    Jetlev, but was unaware of (and was not informed by Jetlev of) the scale of changes that
  15    had occurred.
  16           28.      In reliance on the promise that Jetlev would be able to supply additional
  17    jetpacks, Jetpack Enterprises expanded its operations and worked to establish a branch in
  18    Hawaii and set up clients with jetpack rental operations in other countries. This was done
  19    at significant expense and effort on Jetpack Enterprises’ part.
  20           29.      There had never been a formal operational agreement between Jetpack
  21    Enterprises and Jetlev, although in January 2013, JLIP asked Jetpack Enterprises to
  22    execute a trademark licensing agreement. This was a one-sided agreement intended
  23    primarily to insulate Jetlev, JLIP and Mr. Gerszberg from any potential liability
  24    stemming from Jetpack Enterprises’ operations. Indeed, the agreement appears to have
  25    been drafted by Mr. Gerszberg’s personal attorney, Gregg Donnenfeld, with a
  26    correspondence address in New York. The agreement did not even convey the rights the
  27    mark “Jetlev” itself, which was already in use by Jetpack Enterprises. Despite executing
  28    the trademark licensing agreement, almost immediately thereafter Jetpack Enterprises
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   1    decided to drop the “Jetlev Southwest” name in favor of the brand name “Jetpack
   2    America.” The trademark licensing agreement expired after one year.
   3           30.      While in effect, the trademark licensing agreement called for Jetpack
   4    Enterprises to use “Headzone helmets” in conjunction with its rental operations in
   5    exchange for Jetpack Enterprises’ right to use certain Jetlev branding.
   6           31.      In February 2013, Jetpack Enterprises executed an agreement with Jetlev
   7    entitled the San Diego Flight Center Agreement (“San Diego Agreement”). The San
   8    Diego Agreement provided that Jetpack Enterprises would pay Jetlev a fully refundable
   9    $85,000 deposit toward the possible future purchase of four Jetlev R200 jetpacks for use
  10    at a new San Diego facility. In return, Jetlev was to provide exclusivity in the San Diego
  11    region. Jetpack Enterprises paid Jetlev $85,000 under the San Diego Agreement.
  12           32.      In actuality, there were no other competing jetpack operations in San Diego
  13    at the time, nor would there be in the months to come.
  14           33.      In March 2013, Jetpack Enterprises – San Diego was formed to operate the
  15    San Diego branch of Plaintiffs’ rental business. Mr. O’Malley acted as President, still
  16    based out of Newport Beach. The companies began to refer to themselves collectively by
  17    their brand name “Jetpack America.”
  18           34.      Around this same time, Jetlev began falling behind in its business. Over the
  19    course of 2013, it became apparent that not only was Jetlev not delivering promised
  20    equipment, it was also not following through on financial obligations. Jetlev’s conduct
  21    during 2013 included, among other things:
  22                 a. After Jetpack Enterprises arranged the sale of two Jetlev jetpacks to a
  23                    customer in Singapore, Jetlev was many weeks late with the delivery, which
  24                    reflected very poorly on Jetpack Enterprises and caused significant strife
  25                    with the customer. Indeed, the customer threatened Jetpack Enterprises with
  26                    a lawsuit. Jetpack Enterprises was owed a 15% commission on the sales, the
  27                    $18,000 balance of which was never paid by Jetlev.
  28                 b. Jetlev had promised to deliver the Headzone helmets that it required under
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   1                    the trademark licensing agreement, but then failed to deliver those helmets,
   2                    forcing Plaintiffs to purchase them itself for $2,415.
   3                 c. On or about June 2013, Jetpack Enterprises accidentally wired $9,400 to
   4                    Jetlev, but when Jetpack Enterprises asked for it be returned, Jetlev refused,
   5                    and only relented after extensive and repeated follow up from Jetpack
   6                    Enterprises.
   7                 d. Plaintiffs’ Jetlev jetpack rental equipment started experiencing severe
   8                    mechanical failures that included broken water pumps and c-clamp ruptures.
   9                    These failures caused the jetpack equipment to be inoperable and to require
  10                    significant repairs. As a result, Plaintiffs lost business. When Plaintiffs sent
  11                    parts to Jetlev for repair, they were not repaired and not returned. These
  12                    parts belonged to Plaintiffs and were not the property of Jetlev.         Dean
  13                    O’Malley ultimately was required to travel to Jetlev in Florida and ship the
  14                    materials back to Jetpack Enterprises himself.
  15                 e. Jetlev was generally unresponsive to inquiries from Jetpack Enterprises, and
  16                    hampered Jetpack Enterprises’ ability to engage in jetpack sales by not
  17                    giving Jetpack Enterprises sufficient access to information for pending
  18                    customers. Jetpack Enterprises’ reputation among jetpack purchasers was
  19                    tarnished.
  20           Mr. Gerszberg Wipes The Slate Clean On The Pre-Existing Jetlev Business
  21           35.      Upon information an belief, Jetlev’s decline in mid-2013 was the direct
  22    result of a deliberate effort by Mr. Gerszberg to “wipe the slate clean” on the pre-existing
  23    Jetlev business and consolidate control over the jetpack industry and jetpack intellectual
  24    property. Mr. Gerszberg had become dissatisfied with Jetlev’s operations, and sought to
  25    restructure the entire jetpack industry. To accomplish this, he was content to dismantle
  26    Jetlev in favor of launching a new business at some indeterminate point in the future.
  27    Any of Jetlev’s pre-existing customers and business partners that were deemed an
  28    impediment to this plan would be set aside, regardless of what obligations were owed to
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   1    them. Jetlev’s business partners and customers were intentionally kept in the dark about
   2    the planned restructuring so that none could raise protest as it was happening, and so that
   3    money that was owed to them could be kept by Defendants.
   4           36.   As part of the effort to consolidate control over the jetpack industry, Jetlev,
   5    LLC filed a patent infringement lawsuit against a competitor company called Flyboard.
   6    See S.D. Fl. Case No. 12-61323. Instead of selling water jetpacks, Flyboard sold water
   7    “jetboards” which resemble snowboards except that they expel water to propel the
   8    wearer. The principal defendant in the case was a Florida company operated by Kim
   9    Robinson that acted as the US distributor for a French company owned by Frankie
  10    Zapata. Mr. Zapata is the owner of several patents on the Flyboard design, and runs an
  11    international Flyboard distribution operation that was regarded as the primary
  12    competition for Jetlev.    Mr. Gerszberg attempted to use the lawsuit as leverage to
  13    negotiate a worldwide agreement with Mr. Zapata concerning the sale of jetpack products
  14    and licensing of jetpack intellectual property.
  15           37.   Upon information from those with knowledge, Mr. Gerszberg sent his
  16    representatives to France to negotiate a deal with Mr. Zapata. When this failed, Mr.
  17    Gerszberg traveled to France himself and appeared to have successfully negotiated a
  18    worldwide jetpack alliance with Mr. Zapata. At this point, however, Mr. Zapata came
  19    into possession of Mr. Gerszberg’s mobile device and discovered communications
  20    indicating that Mr. Gerszberg intended to take control of Mr. Zapata’s operations. Mr.
  21    Zapata cut off the deal, and the Flyboard lawsuit ended in a “walk-away.”
  22           38.   Around the same time as the Flyboard lawsuit came to a close, Jetlev
  23    announced that it would soon be releasing a new product called the “Aquaboard” which
  24    was essentially equivalent in design to Mr. Zapata’s patented Flyboard. Jetlev also
  25    indicated that it planned to release an improved jetpack product called the “Aquaflyer” to
  26    replace the pre-existing Jetlev R200 units. On or about August 2013, Jetlev posted
  27    photos on their website of the supposed Aquaboard and Aquaflyer units, stating that they
  28    would be available by November 2013, and encouraging people to make deposits.
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   1    However, the Aquaboard and Aquaflyer were not actually in production, and it was later
   2    revealed that the photographs were shot using components from Mr. Zapata’s Flyboard
   3    equipment.
   4           39.   Jetlev also sought to gain control over Shanghai-based Stratospheric
   5    Industries, Inc., which had launched a highly successful jetpack product called the X-
   6    Jetpack for a tenth the cost of the Jetlev R200.          Mr. Gerszberg demanded that
   7    Stratospheric hand over all of its technical and supply channel information to Jetlev, and
   8    effectively cut themselves out of the industry. Stratospheric did not comply, but did
   9    agree to supply one of its X-Jetpacks to Jetlev pursuant to a Non-Disclosure Agreement
  10    on the promise that Jetlev would provide feedback to Stratospheric. Instead, Jetlev, at the
  11    direction of Mr. Gerszberg and his close associates, dismantled and attempted to reverse
  12    engineer the X-Jetpack in violation of the Non-Disclosure Agreement and after
  13    Stratospheric had demanded the unit’s return.
  14           40.   Upon information and belief, as part of his effort to “wipe the slate clean” on
  15    the pre-existing Jetlev operations, Mr. Gerszberg allowed Jetlev’s business to fail and to
  16    be underfunded until Mr. Li was financially unable to remain involved and was forced to
  17    abdicate his little remaining interest in the companies. US Patent Office records indicate
  18    that in September 2013, Mr. Li sold all of his jetpack patents to JLIP, placing them under
  19    Mr. Gerszberg’s direct control.
  20           41.   In mid-2013, as part of his effort to cut the losses of the pre-existing Jetlev
  21    business, Mr. Gerszberg installed his close friend and confidante Matt Rosenblatt as the
  22    newly-named “CEO” of Jetlev, effectively removing his brother-in-law Benjamin White
  23    in the process. Any effort that Mr. White may have made to carry on the pre-existing
  24    business of Jetlev was undone by Mr. Rosenblatt, who proceeded to fire most of the small
  25    remaining staff of Jetlev, rendering it completely incapable of doing business. Mr.
  26    Rosenblatt assumed the role of the face of Jetlev to its business partners and new
  27    customers.
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   1                        Jetlev Induces Plaintiffs To Credit Money Owed
   2                        Towards Jetpacks That Will Never Be Delivered
   3           42.   Jetpack Enterprises was not made aware of what was transpiring, and was
   4    instead induced to continue expanding its operations on the promise that Jetlev would be
   5    able to supply new jetpacks (the promised Aquaflyer and Aquaboard units). In reliance
   6    on these false assurances, Plaintiffs expended time and money to promote Jetlev jetpacks
   7    and seek commission-generating customers, many of whom made deposits with Jetpack
   8    Enterprises in the anticipation of purchasing new jetpacks. Jetpack Enterprises was thus
   9    putting its reputation on the line for Jetlev.
  10           43.   Starting in July 2013, Mr. O’Malley engaged in a series of negotiations and
  11    discussions with Mr. Rosenblatt to try to get business back on course. In reliance on the
  12    promise that Jetlev would imminently be releasing the Aquaflyer and Aquaboard on or
  13    about November 2013, Jetpack Enterprises put energy and effort into salvaging the
  14    relationship with Jetlev and promoting Jetlev products.     On or about August 2013,
  15    Jetpack Enterprises informed Jetlev that it wanted a refund of the $85,000 deposit it had
  16    made on the older model R200 units pursuant to the San Diego Agreement. Jetpack
  17    Enterprises also requested payment of the long overdue $18,000 in commission payments
  18    on the Singapore sales, as well as compensation for the $2,415 that Jetpack Enterprises
  19    had paid to obtain new Headzone helmets.
  20           44.   Mr. Rosenblatt led Mr. O’Malley to believe that Jetlev was merely facing a
  21    short term cash crunch, and that the best course of action was simply to credit the money
  22    that was owed to Jetpack Enterprises toward the purchase of new Aquaflyer and
  23    Aquaboard products, which would start being delivered on or about November 2013.
  24    However, upon information and belief, the units were not in production, and Mr.
  25    Rosenblatt was merely trying to mollify Jetpack Enterprises long enough for Jetlev to be
  26    dismantled, and so that Defendants could keep Jetpack Enterprises’ money.
  27           45.   The terms of the proposed agreement were hashed out over numerous email
  28    exchanges and phone calls with Mr. O’Malley in California. Mr. O’Malley drew up a
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   1    short contract (“Contract”) memorializing the deal, and on November 7, 2013, travelled
   2    to meet Mr. Rosenblatt and obtain his signature. That Contract is attached hereto as
   3    Exhibit A. Mr. O’Malley signed the Contract on behalf of Jetpack America, referring to
   4    the brand of both his companies. In the Contract, Jetlev acknowledges and admits that it
   5    owed $105,422.80. In exchange for the forgiveness of that debt, Mr. O’Malley agreed to
   6    accept delivery of 11 AquaFlyer units valued at $7,000 each, and 3 Aquaboard units
   7    valued at $6,300 each. Mr. Rosenblatt signed the Contract on behalf of “Jetlev” as
   8    “President & CEO.” Attached to the Contract is a “Credit Memo” showing a $77,000
   9    credit towards the purchase of the 11 AquaFlyers, and $18,900 towards the purchase of
  10    the 3 Aquaboards. A separate spreadsheet entitled “Jetlev/Jetpack America Running
  11    Balance” is also attached, summarizing the bases of the debts owed. The understanding
  12    between the parties was that the units would start being delivered before the end of 2013,
  13    and the Contract requires Jetlev to provide parts and services at 50% off until the final
  14    unit had been delivered “to ensure timely delivery.”
  15           46.   Jetlev never delivered any of the Aquaflyers or Aquaboards, and has not
  16    returned any of the money that was owed. Upon information and belief, no Aquaflyers or
  17    Aquaboards have ever actually been produced.
  18           47.   In March 2014, Mr. Rosenblatt formed a new company called Aquaflier,
  19    LLC (“Aquaflier”) in Florida. Upon information and belief, Mr. Gerszberg and Mr.
  20    Rosenblatt created this entity with the expectation that it would pick up business at some
  21    indeterminate point in the future without having to answer to Jetlev’s pre-existing
  22    obligations. Their intention was to shift any remaining assets of Jetlev to Aquaflier so
  23    that Aquaflier could hit the ground running once it had a viable commercial product.
  24                        Jetlev Falsely Claims To Have Gone Bankrupt
  25                         To Induce Plaintiffs To Give Up Their Claim
  26           48.   Mr. Rosenblatt continued to lead Mr. O’Malley to believe that the promised
  27    jetpacks were merely delayed, and that Jetlev they would still be delivering them
  28    imminently. In fact, Mr. Rosenblatt knew that the units were not going to be available,
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   1    and indeed that they were not even being produced.
   2           49.   Finally, in April 2014, after months of frustration and dealing with
   3    prospective customers who had made deposits for the new jetpacks, Mr. O’Malley
   4    travelled to Jetlev headquarters to check on the status of the promised units.            Mr.
   5    Rosenblatt did not come to the Jetlev office when Mr. O’Malley arrived, and Mr.
   6    O’Malley was instead forced to track him to a local motorsports store where Mr.
   7    Rosenblatt was known to go to evade upset customers. Mr. Rosenblatt informed Mr.
   8    O’Malley that he was in the midst of bankrupting Jetlev with plans to launch the new
   9    jetpack systems under a new company. Mr. Rosenblatt stated that, since the Contract was
  10    signed by him as a representative of Jetlev, which was now bankrupt, Jetlev would not be
  11    honoring the terms of the Contract, and Jetpack Enterprises would not be repaid any of its
  12    money. Mr. Rosenblatt then offered to allow Mr. O’Malley to buy new units from his
  13    new company for a similar price that was negotiated in the Contract. Defendants’ new
  14    company, however, was nowhere close to being able to deliver new products, and in fact
  15    has never launched the Aquaboard and Aquaflyer units.
  16           50.   Based on Mr. Rosenblatt’s assertion that Jetlev was now bankrupt, Plaintiffs
  17    cut ties with Jetlev, and Jetlev similarly ceased communications with Plaintiffs. As far as
  18    Plaintiffs were made to believe, the relationship was over and their money had been lost.
  19    Jetpack Enterprises was forced to return the deposits from customers who wanted to
  20    purchase the Aquaboard and Aquaflyer, which was damaging to Plaintiffs’ reputation.
  21    Plaintiffs had been counting on the new Jetlev units to supplement their existing business,
  22    and had invested considerable time, money and effort in reliance on Jetlev’s assurances.
  23    Jetpack Enterprises lost profits on the sales it would have made on the new units.
  24           51.   Relying on Mr. Rosenblatt’s statement that Jetlev had gone bankrupt and
  25    would not be refunding the money that was owed, Plaintiffs were induced to abandon the
  26    Contract and assume that the money was lost. However, unbeknownst to Plaintiffs,
  27    Jetlev never went bankrupt. In fact, Jetlev continues to offer jetpack equipment for sale
  28    (see www.jetlev.com), taking deposits on equipment that has yet to be delivered.
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   1    Plaintiffs did not discover that Jetlev had not gone bankrupt until just recently.
   2           52.   Many other former Jetlev distributors, customers and business partners were
   3    similarly defrauded by Jetlev. These third parties paid Jetlev tens of thousands of dollars
   4    for new jetpack units before Jetlev announced that it had gone “bankrupt” and would not
   5    be refunding any of their money. Several lawsuits have been filed against Jetlev, but Mr.
   6    Gerszberg and Mr. Rosenblatt have been content to allow default judgments to accrue
   7    against Jetlev, apparently assuming that no plaintiff would have the sophistication to
   8    determine a way to collect. Mr. Rosenblatt was sued in his personal capacity, but, upon
   9    information and belief, has attempted to evade service of process. All the while, Mr.
  10    Gerszberg and Mr. Rosenblatt have refused to file for bankruptcy and open up Jetlev’s
  11    books to public and judicial scrutiny.
  12           53.   In early 2014, believing Jetlev to have gone out of business, Plaintiffs
  13    established a relationship with Stratospheric Industries. On August 6, 2014, without any
  14    warning, JLIP sued Plaintiffs and Stratospheric for patent infringement. See S.D. Fl.
  15    Case No. 14-61798.
  16                 Mr. Gerszberg And Mr. Rosenblatt Are Liable As Alter Egos
  17           54.   Mr. Gerszberg and Mr. Rosenblatt have hidden behind the corporate veil of
  18    Jetlev to engage in the foregoing actions for their own personal gain. Upon information
  19    and belief, both Mr. Gerszberg and Mr. Rosenblatt co-mingled their personal assets with
  20    Jetlev’s assets at their convenience, and then raided all the assets of Jetlev when they
  21    dismantled the company. Mr. Gerszberg has alternately mingled his own funds with
  22    Jetlev, and used JLSG, under his sole direction, to funnel cash between him and Jetlev.
  23    Mr. Gerszberg and Mr. Rosenblatt have not observed corporate formalities, did not keep
  24    adequate books or records, deliberately allowed Jetlev to be underfunded and
  25    understaffed such that it could not properly function or honor obligations, did not proceed
  26    with any proper bankruptcy procedures, used the dismantling of Jetlev as leverage to
  27    wrest control of the jetpack intellectual property for themselves, used the dismantling of
  28    Jetlev to avoid paying debts, and otherwise ignored any separateness between their own
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   1    affairs and those of Jetlev (except when it suited them).
   2           55.      Mr. Gerszberg and Mr. Rosenblatt are thus properly considered the alter
   3    egos of Jetlev, and therefore jointly liable with Jetlev. Adherence to the notion of a
   4    separateness between Jetlev on one hand, and Mr. Gerszberg and Mr. Rosenblatt on the
   5    other, would sanction fraud and promote injustice.
   6           56.       To the extent Mr. Gerszberg has used JLSG as a corporate shield to engage
   7    in the foregoing acts, JLSG is also liable and its corporate veil may be pierced to reach
   8    Mr. Gerszberg.
   9               JLIP, JLSG And Aquaflier Have Successor And/Or Alter Ego Liability
  10           57.      To the extent that Jetlev has effectively ceased to exist and is unable to
  11    account for its liabilities, JLIP, Aquaflier, and JLSG should each be held jointly liable for
  12    Jetlev’s misconduct under a successor liability and/or alter ego theory. Each of JLIP,
  13    Aquaflier, and JLSG have assumed the assets of Jetlev, have the same employees and
  14    managers as Jetlev, and have failed to observe proper corporate formalities in isolating
  15    their businesses from Jetlev, or properly disposing of Jetlev’s outstanding obligations to
  16    creditors.
  17                               CLAIM I – BREACH OF CONTRACT
  18           58.      Plaintiffs hereby incorporate paragraphs 1-57 as if stated fully herein.
  19           59.      This is a claim by Plaintiffs against Jetlev for breach of contract.
  20           60.      The Contract represented a binding agreement by which Jetlev was to have
  21    provided Plaintiffs with $95,900 worth of equipment in exchange for forgiveness of
  22    Jetlev’s $105,422.80 debt to Plaintiffs.
  23           61.      Plaintiffs fully performed their obligations under the Contract by forebearing
  24    from collecting the $105,422.80 of their funds and allowing said funds to be credited
  25    toward the purchase of the promised new jetpacks.
  26           62.      Jetlev completely failed to deliver any of the promised equipment and has
  27    not otherwise repaid Plaintiffs on amounts that were owed.               Instead, Jetlev falsely
  28    claimed to have gone bankrupt to avoid performance. Jetlev has thus materially breached
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   1    the Contract to such an extent that the breach amounts to a total failure of consideration.
   2           63.   Plaintiffs’ damages because of said breach are $105,422.80 (plus interest), in
   3    addition to costs associated with time, money and effort expended in reliance on Jetlev’s
   4    promise to provide new equipment, and lost profits when that equipment was not
   5    delivered. Plaintiffs also suffered reputational injury.
   6           64.   Plaintiffs are also and/or in the alternative entitled to rescission, restitution
   7    and compensatory damages to make them whole.
   8           65.   Mr. Gerszberg and Mr. Rosenblatt are the alter egos of Jetlev, and are thus
   9    jointly liable on this claim.
  10           66.   To the extent that Jetlev is defunct and unable to account for its liabilities,
  11    JLIP, Aquaflier and JLSG are jointly liable on this claim as the successors in interest to
  12    Jetlev, and/or as Jetlev’s alter egos.
  13                                        CLAIM II - FRAUD
  14           67.   Plaintiffs hereby re-allege Paragraphs 1-57 as if stated fully herein.
  15           68.   This is a claim by Plaintiffs for fraud against Jetlev, as well as against Mr.
  16    Gerszberg and Mr. Rosenblatt, and each of them, in their personal capacities.
  17           69.   Jetlev, under the direction of Mr. Gerszberg and Mr. Rosenblatt, led
  18    Plaintiffs to believe that Jetlev would continue to support Plaintiffs’ businesses with new
  19    jetpacks. This was a material misrepresentation, however. Jetlev’s actual goal was to
  20    placate Plaintiffs long enough for Jetlev’s pre-existing business to be dismantled. Jetlev
  21    was aware that Plaintiffs were investing time and money in reliance on Jetlev’s
  22    assurances, but were content to allow Plaintiffs to continue to do so to prevent Plaintiffs’
  23    suspicions from being raised, and so that Jetlev could keep Jetpack Enterprises’ money.
  24           70.   Jetlev knew at the time it entered into the Contract that it would not be able
  25    to deliver the promised equipment, but used the Contract as a ruse and intentional
  26    misrepresentation to mollify Plaintiffs and avoid paying the $105,422.80 that was owed.
  27           71.   In forebearing from collecting the $105,422.80, Plaintiffs justifiably relied
  28    upon Jetlev’s material misrepresentation that the money would be credited toward the
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   1    purchase of new equipment that would be delivered within the next several weeks.
   2           72.   As a direct and proximate cause of the misconduct herein alleged, Plaintiffs
   3    suffered damages of $105,422.80 (plus interest), in addition to costs associated with time,
   4    money and effort expended in reliance on Jetlev’s promise to provide new equipment,
   5    and lost profits when that equipment was not delivered.              Plaintiffs also suffered
   6    reputational injury.
   7           73.   Later, Jetlev engaged in a second fraud by inventing the fiction, and making
   8    the intentional and material misrepresentation, that it was going into bankruptcy and that
   9    all of its obligations to Plaintiffs – including those under the Contract – were discharged.
  10           74.   In fact, Jetlev never went into bankruptcy, and Jetlev’s intention was to
  11    convince Plaintiffs to abandon their claims and the money that was owed.
  12           75.   Plaintiffs justifiably relied upon Jetlev’s material misrepresentations that it
  13    had gone bankrupt, and consequently suffered damages when it was induced to give up
  14    its claim to the $105,422.80 that was owed.
  15           76.   As a direct and proximate cause of the misconduct herein alleged, Plaintiffs
  16    suffered damages of $105,422.80 (plus interest), in addition to costs associated with time,
  17    money and effort expended in reliance on Jetlev’s promise to provide new equipment,
  18    and lost profits when that equipment was not delivered.              Plaintiffs also suffered
  19    reputational injury.
  20           77.   Mr. Gerszberg’s and Mr. Rosenblatt’s conduct reflects a callous disregard
  21    for Jetlev’s business partners and customers, as well as a disregard for corporate
  22    formalities and obligations. In doing the acts hereinabove alleged, Jetlev, Mr. Gerszberg
  23    and Mr. Rosenblatt acted fraudulently, oppressively, and maliciously and, by reason
  24    thereof, Plaintiffs are entitled to exemplary and punitive damages.
  25           78.   Mr. Gerszberg and Mr. Rosenblatt are liable for their own acts of fraud, and
  26    are also jointly liable for any fraud by Jetlev because they are Jetlev’s alter egos.
  27           79.   To the extent that Jetlev is defunct and unable to account for its liabilities,
  28    JLIP, Aquaflier and JLSG should be held jointly liable for any acts of fraud by Jetlev
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   1    because they are the successors in interest to Jetlev, and/or Jetlev’s alter egos.
   2                             CLAIM III – PROMISSORY FRAUD
   3           80.   Plaintiffs hereby re-allege Paragraphs 1-57 as if stated fully herein.
   4           81.   This is a claim by Plaintiffs for promissory fraud against Jetlev, as well as
   5    against Mr. Gerszberg and Mr. Rosenblatt, and each of them, in their personal capacities.
   6           82.   Jetlev, under the direction of Mr. Gerszberg and Mr. Rosenblatt, promised
   7    and led Plaintiffs to believe that Jetlev would continue to support Plaintiffs’ businesses
   8    with new jetpacks. Jetlev’s goal, however, was to placate Plaintiffs long enough for
   9    Jetlev’s pre-existing business to be dismantled. Jetlev was aware that Plaintiffs were
  10    investing time and money in reliance on Jetlev’s assurances, but were content to allow
  11    Plaintiffs to continue to do so to prevent Plaintiffs’ suspicions from being raised, and so
  12    that Jetlev could keep Jetpack Enterprises’ money.
  13           83.   Jetlev knew at the time it made such promises and entered into the Contract
  14    that it would not be able to deliver the promised equipment, but used the Contract as a
  15    ruse to mollify Plaintiffs and avoid paying the $105,422.80 that was owed.
  16           84.   In forebearing from collecting the $105,422.80, Plaintiffs justifiably relied
  17    upon Jetlev’s promises that their business would be supported and that the money would
  18    be credited toward the purchase of new equipment that would be delivered within the
  19    next several weeks.
  20           85.   Defendants’ promises were fraudulent. As a direct and proximate cause of
  21    the fraud herein alleged, Plaintiffs suffered damages of $105,422.80 (plus interest), in
  22    addition to costs associated with time, money and effort expended in reliance on Jetlev’s
  23    promise to provide new equipment, and lost profits when that equipment was not
  24    delivered. Plaintiffs also suffered reputational injury.
  25           86.   Mr. Gerszberg’s and Mr. Rosenblatt’s conduct reflects a callous disregard
  26    for Jetlev’s business partners and customers, as well as a disregard for corporate
  27    formalities and obligations. In doing the acts hereinabove alleged, Jetlev, Mr. Gerszberg
  28    and Mr. Rosenblatt acted fraudulently, oppressively, and maliciously and, by reason
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   1    thereof, Plaintiffs are entitled to exemplary and punitive damages.
   2           87.    Mr. Gerszberg and Mr. Rosenblatt are liable for their own acts of fraud, and
   3    are also jointly liable for any fraud by Jetlev because they are Jetlev’s alter egos.
   4           88.    To the extent that Jetlev is defunct and unable to account for its liabilities,
   5    JLIP, Aquaflier and JLSG should be held jointly liable for any acts of fraud by Jetlev
   6    because they are the successors in interest to Jetlev, and/or Jetlev’s alter egos.
   7                     CLAIM IV – NEGLIGENT MISREPRESENTATION
   8           89.    Plaintiffs hereby incorporate paragraphs 1-57 as if stated fully herein.
   9           90.    This is a claim by Plaintiffs for negligent misrepresentation against Jetlev, as
  10    well as against Mr. Gerszberg and Mr. Rosenblatt, and each of them, in their personal
  11    capacities.
  12           91.    At a minimum, Jetlev, under the direction of Mr. Gerszberg and Mr.
  13    Rosenblatt, negligently represented to Plaintiffs that Jetlev would continue to do business
  14    and be able to sell Plaintiffs new jetpacks. Jetlev knew or should have known that its
  15    business was on the verge of effectively shutting down, but was content to keep Jetpack
  16    Enterprises’ money on the promise that Jetlev was merely experiencing a short term cash
  17    crunch and that new jetpack units would be delivered soon. As such, Defendants’
  18    representations were made negligently.
  19           92.    In justifiable reliance on Jetlev’s negligent representations, Plaintiffs
  20    suspended pursuit of the money that was properly owed to them, and continued to invest
  21    time, money and advertising toward the promised launch of the new Jetlev jetpacks.
  22           93.    As a direct and proximate cause of the misconduct herein alleged, Plaintiffs
  23    suffered damages of $105,422.80 (plus interest), in addition to costs associated with time,
  24    money and effort expended in reliance on Jetlev’s promise to provide new equipment,
  25    and lost profits when that equipment was not delivered.              Plaintiffs also suffered
  26    reputational injury.
  27           94.    Mr. Gerszberg’s and Mr. Rosenblatt’s conduct reflects a callous disregard
  28    for Jetlev’s business partners and customers, as well as a disregard for corporate
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   1    formalities and obligations. In doing the acts hereinabove alleged, Jetlev, Mr. Gerszberg
   2    and Mr. Rosenblatt acted with extreme negligence and, by reason thereof, Plaintiffs are
   3    entitled to exemplary and punitive damages.
   4           95.    Mr. Gerszberg and Mr. Rosenblatt are liable for their own acts of negligent
   5    misrepresentation, and are also jointly liable for any negligent misrepresentations by
   6    Jetlev because they are Jetlev’s alter egos.
   7           96.    To the extent that Jetlev is defunct and unable to account for its liabilities,
   8    JLIP, Aquaflier and JLSG should be held jointly liable for any acts of negligent
   9    misrepresentation by Jetlev because they are the successors in interest to Jetlev, and/or
  10    Jetlev’s alter egos.
  11               CLAIM V – INTENTIONAL INTERFERENCE WITH CONTRACT
  12           97.    Plaintiffs hereby incorporate paragraphs 1-57 as if stated fully herein.
  13           98.    This is a claim by Plaintiffs against Mr. Gerszberg and Mr. Rosenblatt, and
  14    each of them, for intentional interference with contract.
  15           99.    The Contract represented a binding agreement by which Jetlev was to have
  16    provided Plaintiffs with $95,900 worth of equipment in exchange for forgiveness of
  17    Jetlev’s $105,422.80 debt to Plaintiffs.
  18           100.   Plaintiffs fully performed their obligations under the Contract by forebearing
  19    from collecting the $105,422.80 of their funds and allowing said funds to be credited
  20    toward the purchase of the promised new jetpacks.
  21           101.   Mr. Gerszberg and Mr. Rosenblatt had knowledge of Jetlev’s Contract with
  22    Plaintiffs.
  23           102.   Mr. Gerszberg and Mr. Rosenblatt deliberately interfered with the Contract
  24    by various acts, including causing Jetlev to renege on its promise to deliver equipment by
  25    deliberately failing to devote proper resources to the task, and indeed by not even
  26    undertaking the task. Mr. Gerszberg and Mr. Rosenblatt took these actions not in the
  27    capacity of managers of Jetlev but for their own personal gain so that they could wipe the
  28    Jetlev slate clean and move on unencumbered with a new business enterprise. The result
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   1    was that Jetlev completely failed to deliver any of the promised equipment and has not
   2    otherwise repaid Plaintiffs on amounts that were owed.
   3           103.    As a direct and proximate cause of the misconduct herein alleged, Plaintiffs
   4    suffered damages of $105,422.80 (plus interest), in addition to costs associated with time,
   5    money and effort expended in reliance on Jetlev’s promise to provide new equipment,
   6    and lost profits when that equipment was not delivered.              Plaintiffs also suffered
   7    reputational injury.
   8           104.    Mr. Gerszberg’s and Mr. Rosenblatt’s conduct reflects a callous disregard
   9    for Jetlev’s business partners and customers, as well as a disregard for corporate
  10    formalities and obligations. In doing the acts hereinabove alleged, Mr. Gerszberg and
  11    Mr. Rosenblatt acted fraudulently, oppressively, and maliciously and, by reason thereof,
  12    Plaintiffs are entitled to exemplary and punitive damages.
  13               CLAIM VI – INTENTIONAL INTERFERENCE WITH PROSPECTIVE
  14                                    ECONOMIC ADVANTAGE
  15           105.    Plaintiffs hereby incorporate paragraphs 1-57 as if stated fully herein.
  16           106.    This is a claim by Jetpack Enterprises against Jetlev, JLIP, JLSG, Mr.
  17    Gerszberg and Mr. Rosenblatt, and each of them, for intentional interference with
  18    prospective economic advantage.
  19           107.    In 2011, Jetpack Enterprises had a positive relationship with Mr. Li’s Jetlev
  20    Technologies, Inc. business. This relationship allowed Jetpack Enterprises to purchase
  21    jetpack equipment from Mr. Li’s business, and allowed Jetpack Enterprises to pursue
  22    commissioned jetpack sales.        Jetpack Enterprises’ relationship with Mr. Li’s Jetlev
  23    Technologies, Inc. business had the potential for a bright future, and thus constituted a
  24    valuable prospective economic advantage.
  25           108.    Defendants were aware that Jetpack Enterprises had this prospective
  26    economic advantage with Mr. Li’s Jetlev Technologies, Inc., yet deliberately set out to
  27    wipe the slate clean on that relationship for their own personal gain in the hope of
  28    remolding the jetpack industry.
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   1           109.   Such acts of interference included at least the following. Defendants used
   2    Jetlev, LLC to take over Mr. Li’s pre-existing business. Instead of honoring the existing
   3    relationship with Jetpack Enterprises, Defendants allowed Jetlev to fall behind on its
   4    obligations to Jetpack Enterprises. Defendants then induced Jetpack Enterprises to sign
   5    agreements that were either one-sided or fraudulent. Mr. Gerszberg’s JLIP then sued
   6    Jetpack Enterprises for patent infringement when Jetpack Enterprises found a new
   7    business partner.
   8           110.   As a direct and proximate cause of the Defendants’ intentional interference
   9    with the original Jetpack Enterprises – Jetlev Technologies, Inc. relationship, Jetpack
  10    Enterprises lost a jetpack supplier, lost the possibility of commissioned sales, suffered
  11    reputational harm, and lost $105,422.80 along with other money expended in reliance on
  12    false promises.
  13           111.   Mr. Gerszberg’s and Mr. Rosenblatt’s conduct reflects a callous disregard
  14    for Jetlev’s business partners and customers, as well as a disregard for corporate
  15    formalities and obligations. In doing the acts hereinabove alleged, Defendants acted
  16    fraudulently, oppressively, and maliciously and, by reason thereof, Plaintiffs are entitled
  17    to exemplary and punitive damages.
  18                                  CLAIM VII – CONVERSION
  19           112.   Plaintiffs hereby incorporate paragraphs 1-57 as if stated fully herein.
  20           113.   This is a claim by Plaintiffs for conversion against Jetlev, as well as against
  21    Mr. Gerszberg and Mr. Rosenblatt, and each of them, in their personal capacities.
  22           114.   Jetlev, under the direction of Mr. Gerszberg and Mr. Rosenblatt, wrongfully
  23    exercised dominion over Jetpack Enterprises’ property – namely, Jetpack Enterprises’
  24    money, which is a fixed and readily identifiable sum – by taking that property and
  25    applying it to the personal use of the Defendants.
  26           115.   As a direct and proximate cause of the misconduct herein alleged, Plaintiffs
  27    suffered damages of $105,422.80 (plus interest), in addition to costs associated with time,
  28    money and effort expended in reliance on Jetlev’s promise to provide new equipment,
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   1    and lost profits when that equipment was not delivered.              Plaintiffs also suffered
   2    reputational injury.
   3           116.   Mr. Gerszberg’s and Mr. Rosenblatt’s conduct reflects a callous disregard
   4    for Jetlev’s business partners and customers, as well as a disregard for corporate
   5    formalities and obligations. In doing the acts hereinabove alleged, Jetlev, Mr. Gerszberg
   6    and Mr. Rosenblatt acted fraudulently, oppressively, and maliciously and, by reason
   7    thereof, Plaintiffs are entitled to exemplary and punitive damages.
   8           117.   Mr. Gerszberg and Mr. Rosenblatt are liable for Jetlev’s acts of conversion
   9    by virtue of their direct involvement in the acts, and are also jointly liable for any
  10    conversion by Jetlev because they are Jetlev’s alter egos.
  11           118.   To the extent that Jetlev is defunct and unable to account for its liabilities,
  12    JLIP, Aquaflier and JLSG should be held jointly liable for any acts of conversion by
  13    Jetlev because they are the successors in interest to Jetlev, and/or Jetlev’s alter egos.
  14                                 CLAIM VIII – NEGLIGENCE
  15           119.   Plaintiffs hereby incorporate paragraphs 1-57 as if stated fully herein.
  16           120.   This is a claim by Plaintiffs for negligence against Jetlev, as well as against
  17    Mr. Gerszberg and Mr. Rosenblatt, and each of them, in their personal capacities.
  18           121.   At a minimum, Jetlev, under the direction of Mr. Gerszberg and Mr.
  19    Rosenblatt, acted negligently in the management of Jetpack Enterprises’ money. Jetlev,
  20    Mr. Gerszberg and Mr. Rosenblatt had a duty to properly apply Jetpack Enterprises’
  21    money toward the purchase of equipment, and breached that duty by mismanaging
  22    Jetpack Enterprises’ funds and not making any provision for their repayment.
  23           122.   Jetlev’s breach – and the corresponding breach of Mr. Gerszberg and Mr.
  24    Rosenblatt – directly and proximately caused Plaintiffs to lose the $105,422.80 that had
  25    been entrusted to Jetlev, as well as to not receive any of the promised equipment.
  26           123.   As a direct and proximate cause of the misconduct herein alleged, Plaintiffs
  27    suffered damages of $105,422.80 (plus interest), in addition to costs associated with time,
  28    money and effort expended in reliance on Jetlev’s promise to provide new equipment,
                                                      23
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   1    and lost profits when that equipment was not delivered.                 Plaintiffs also suffered
   2    reputational injury.
   3           124.      Mr. Gerszberg’s and Mr. Rosenblatt’s conduct reflects a callous disregard
   4    for Jetlev’s business partners and customers, as well as a disregard for corporate
   5    formalities and obligations. In doing the acts hereinabove alleged, Jetlev, Mr. Gerszberg
   6    and Mr. Rosenblatt acted with extreme negligence and, by reason thereof, Plaintiffs are
   7    entitled to exemplary and punitive damages.
   8           125.      Mr. Gerszberg and Mr. Rosenblatt are liable for Jetlev’s negligence by virtue
   9    of their direct involvement in the acts, and are also jointly liable for any negligence by
  10    Jetlev because they are Jetlev’s alter egos.
  11           126.      To the extent that Jetlev is defunct and unable to account for its liabilities,
  12    JLIP, Aquaflier and JLSG should be held jointly liable for any acts of negligence by
  13    Jetlev because they are the successors in interest to Jetlev, and/or Jetlev’s alter egos.
  14

  15                                         PRAYER FOR RELIEF
  16    WHEREFORE, Plaintiffs seeks:
  17               a) judgment that Jetlev materially breached the Contract, and that the other
  18                  Defendants are jointly liable with Jetlev on Plaintiffs’ claims;
  19               b) judgment that Defendants are liable for fraud, promissory fraud, conversion,
  20                  and intentional interference with prospective business advantage, or in the
  21                  alternative, for negligent misrepresentation, negligence and/or intentional
  22                  interference with contract;
  23               c) rescission of the Contract and full restitution of monies owed to Plaintiffs,
  24                  which is at least $105,422.80, plus interest;
  25               d) compensatory damages in an amount sufficient to make Plaintiffs whole;
  26               e) punitive damages in an amount commensurate with Defendants’ misconduct
  27                  and to dissuade further misconduct, but in no event less than $1,000,000.00;
  28               f) an award of Plaintiffs’ attorneys fees and costs in this action;
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   1               g) pre- and post-judgment interest; and
   2               h) such other and further relief as the Court may deem just and equitable.
   3
          Dated: December 5, 2014                     FOLEY & LARDNER LLP
   4

   5                                                  By: /s/ Jean-Paul Ciardullo
                                                          Jean-Paul Ciardullo
   6

   7                                                  Attorneys for Plaintiffs
                                                      Jetpack Enterprises, LCC and
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                                                      Jetpack Enterprises – San Diego, LLC
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   1                                  DEMAND FOR JURY TRIAL
   2               Jetpack Enterprises, LCC and Jetpack Enterprises – San Diego, LLC hereby
   3    demand a trial by jury of all issues triable by a jury.
   4

   5    Dated: December 5, 2014                         FOLEY & LARDNER LLP
   6
                                                        By: /s/ Jean-Paul Ciardullo
   7                                                        Jean-Paul Ciardullo
   8
                                                        Attorneys for Plaintiffs
   9                                                    Jetpack Enterprises, LCC and
  10                                                    Jetpack Enterprises – San Diego, LLC

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